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                          DECLARATION OF FTC INVESTIGATOR
                                  BRENT D. MCPEEK
                              PURSUANT TO 28 U.S.C. § 1746

Pursuant to 28 U.S.C. § 1746, Brent D. McPeek declares that:

        1.       My name is Brent D. McPeek. I am over the age of 21 and competent to give this

declaration. I am a Federal Trade Investigator with the Federal Trade Commission

(Commission). I have a Bachelor of Science degree in agricultural economics with a minor in

finance, as well as a Master of Science degree in applied economics. I have more than ten years'

experience as an investigator and litigation consultant. My business address is Federal Trade

Commission, Southwest Region, 1999 Bryan Street, Suite 2150, Dallas, Texas 75201.

        2.      My duties, as a Federal Trade Investigator, include monitoring and investigating

parties suspected of engaging in unfair or deceptive acts or practices in violation of the Federal

Trade Commission Act and other laws and rules enforced by the Commission. I also assist in

related litigation.

        3.      I assisted in the Commission's investigation ofYOUR YELLOW BOOK INC

("Your Yellow Book" or "Corporate Defendant") and related individuals Brandie Law, Robert

Law, and Dustin Law ("Individual Defendants"). I will refer to the Individual Defendants and

the Corporate Defendant collectively as "Defendants."

        4.      During the Commission's non-public investigation, I acquired personal

knowledge of the facts stated here, and, if called, would testify to the same. My conclusions are

based on my investigation, including my review of documents obtained by the Commission,

consumer complaints about Defendants' business practices, and websites operated by

Defendants. Personally Identifying Information ("PII") has been redacted from all documents

referenced in this declaration.




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                                   Secretary of State Records

        5.      During this investigation, I searched the Oklahoma Secretary of State website for

records related to the Corporate Defendant. I downloaded and saved a copy of the corporate

summary information sheet provided by the Oklahoma Secretary of State. A true and correct

copy of this document is attached as Ex. 2, App. at 16.

        6.      According to the summary information sheet, Your Yellow Book Inc was formed

as a "Domestic For Profit Business Corporation" in Oklahoma on April 14, 2011. !d. The

summary information sheet also identifies Robert Ray Law as registered agent effective July 29,

2011 , at 10600 South Penn Avenue, Suite 16, Oklahoma City, Oklahoma 73170. !d.

                                     Tax Assessor Records

       7.      During this investigation, I searched the Logan County, Oklahoma, Tax Assessor

website for records related to Brandie Law. I downloaded and saved a copy of the Property

Information record and Residential Sales Information record for the real property located at 1304

W. Cleveland, Guthrie, Oklahoma 73044. True and correct copies of these documents are

attached as Ex. 3, App. at 17 - 20. According to the records, Brandie Law owned this single-

family residential property between February 2009 and July 2012. !d., App. at 18.

       8.      During this investigation, I obtained records from Oklahoma County, Oklahoma,

Tax Assessor website related to 1014 Straka Terrace, Oklahoma City, Oklahoma. 1 True and

correct copies ofthese records are attached as Ex. 4, App. at 21-22. According to these

records, 1012 and 1014 Straka Terrace, Oklahoma City, Oklahoma are a single-structure

residential duplex. !d.




1
  1014 Straka Terrace, Oklahoma City, Oklahoma, will be shown to be used by Robert Law later
in this declaration. See, e.g., Ex. 7, App. at 80.

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                                       Consumer Sentinel

       9.       Consumer Sentinel Network ("CSN") is a secure online database of more than 9

million unverified consumer complaints that are submitted by state, federal and international law

enforcement agencies and nongovernmental organizations and is available only to law

enforcement. According to the Consumer Sentinel Network Data Book for January- December

2013, CSN received nearly 14,000 complaints from consumers about fraudulent advertising and

business directory listings. Ex. 5, App. at 23?

       10.      During this investigation, I searched the CSN database for complaints related to

Your Yellow Book. Using the search phrase "your yellow book," I determined that there are 110

Fraud Complaints and 103 Do-Not-Call Complaints filed by consumers as recently as July 17,

2014, against Corporate Defendant.

                                 U.S. Postal Inspection Service

       11.     During this investigation, I spoke with U.S. Postal Inspector Ryan D. Brakhage

about Defendants. He informed me that Your Yellow Book has twice been the subject of Cease

and Desist Orders as the result of Administrative action by the U.S. Postal Inspection Service.

U.S. Postal Inspector Brakhage provided copies ofthese Cease and Desist Orders as well as a

similar Cease and Desist Order related to Your Computer Pros Inc. 3 True and correct copies of

these documents are attached as Ex. 6, App. at 24 - 77. The cease and desist orders showed the

following:

               a.      On May 10, 2011 , Brandie Michelle Law, individually and on behalf of

Your Yell ow Book Inc, signed an Agreement Containing Consent Order to Cease and Desist
2
  The complete report can be found at:
http://www.ftc. gov/systern/fil es/documents/reports/ consumer-sentinel-network-data-book-
january-december-2013/sentinel-cy2013 .pdf
3
  Your Computer Pros Inc is a separate business operated by Defendants. This Cease and Desist
Order covered conduct similar to that covered by the Your Yell ow Book Orders.

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from falsely representing that Your Yellow Book has had a prior business relationship with

businesses it sends invoices, that businesses have agreed to accept the listings, that businesses

have agreed to pay the amount listed on the invoices, and that the amount listed on the

solicitations is owed to Your Yellow Book. !d. , App. at 24- 41.

                 b.     On February 8, 2012, Robert Ray Law, individually and on behalf of Your

Yellow Book Inc, signed an Agreement Containing Consent Order to Cease and Desist from

falsely representing that Your Yellow Book has had a prior business relationship with businesses

it sends invoices, that businesses have agreed to accept the listings, that businesses have agreed

to pay the amount listed on the invoices, and that the amount listed on the solicitations is owed to

Your Yellow Book. !d., App. at 42-59.

         12.     The FTC also requested and received from U.S. Postal Inspectors copies of

several PS Form 1093 Applications for Post Office Box Service. I attached true and correct

copies of these documents as Ex. 7, App. at 78- 80. These documents showed:

                 a.     That Ryan N. Jordan, on behalf of Your Yellow Book, applied for P.O.

Box number 892335 on March 31 , 2011, and 1304 W. Cleveland, Guthrie, OK 73044 was

identified as the contact address and (405) 293-6430 as the contact telephone number. !d. , App.

at 78.

                 b.     Robert R. Law, on behalf of Your Yellow Book, applied for P.O. Box

number 891475 on February 4, 2012, and 1014 Straka Ter, Oklahoma City, OK 79139 was

identified as the contact address and (405) 833-9857 as the contact telephone number. !d., App.

at 79. This box was closed on February 11 , 2013 . !d.




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                 c.     Robert R. Law, on behalf of Your Yellow Book, applied for P.O. Box

number 95343 on June 14,2012, and 1014 Straka Ter, Oklahoma City, OK 79139 was identified

as the contact address and (405) 833-9857 as the contact telephone number. !d., App. at 80.

                        Defendants' Website- www.youryellowbook.com

        13.      During this investigation, I viewed Your Yellow Book's website located at

www.youryellowbook.com. I attempted to create an "offline" copy of the entire website, or save

a copy of the entire website as a PDF; however the entire website is too large and exceeded the

capabilities of any tools available to me. I printed portions of the website, as well as several

Google and Bing website search results. True and correct copies of these documents are attached

as Ex. 8, App. 81- 135. The following paragraphs describe my experience using the website

and provide context to the Google and Bing search results.

       14.      The front page of www.youryellowbook.com has a section of links to categories

of"Famous Quotes," and the business listings are organized alphabetically according to very

specific categories. !d., App. at 81 - 83. The website does not provide a method of searching

the listings by business name; instead, users have the option to type in a category, along with a

city and state. !d., App. at 81. There are a large number of search categories on theYour

Yellow Book website. For example, the "Advertising" categories begin on the front page of the

website listing 27 specific "Advertising" related categories. !d., App. at 82-83. I typed "bank"

in the Category search box and found that there are eight categories that start with the word bank.

!d., App. at 83 .1. Similarly, I typed "pharma".in the Category search box and found that there

are 11 categories that start with the term pharma. !d., App. at 83.2.

       15.      For demonstration purposes, I located two specific business on the website:

Consumer's Pharmacy, located in Wichita, Kansas; and Falls Catholic Credit Union, located in



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Akron, Ohio. I printed the Categories for "Pharmacies" in Wichita, KS, and "Credit Unions" in

Akron, OH. !d., App. at 84-92. Both businesses are listed at the beginning of their respective

categories, in their respective cities.

        16.      I tried to determine if the business listings on Your Yellow Book's website were

included in business name search results in the Google and Bing search engines. I entered

"consumer's pharmacy" in the Google search engine at www.google.com. I printed the first four

pages of search results. Consumer's Pharmacy's listing on Your Yellow Book's website was not

included in the first four pages of search results. !d., App. at 93 - 100. I conducted the same

search using the Bing search engine at www.bing.com. Consumer's Pharmacy's listing on Your

Yellow Book's website was not included in the first four pages of search results from the Bing

search engine. !d., App. at 101 - 107.

        17.     I conducted a search for "falls catholic credit union" using the Google search

engine and printed the first four pages of results. !d., App. at 108-115. I conducted the same

search using the Bing search engine and printed the first four pages of results. !d. , App. at 116 -

123. Falls Catholic Credit Union's listing on Your Yellow Book's website was not included in

the first four pages of search results from either the Google or Bing searches.

       18.      I attempted to replicate a consumer's experience attempting to use Your Yellow

Book's website to locate Consumer's Pharmacy in Wichita, Kansas. I conducted a video capture

of this experience and printed pages of the website to document the results. I entered

"pharmacy" in the Category box, and "Wichita" and "KS" in the City and State boxes,

respectively. The category results included only one category: "Pharmacy and Medical Supply."

!d., App. at 124- 127. I clicked on the "Pharmacy and Medical Supply'' category link and the

resulting web page stated "No Records To Display Please Try Another Category." Id., App. at



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128 - 131. I returned to the Category search box and entered "pharmacies" while leaving the

City and State boxes the same as the first search. The category results included only one

category: "Pharmacies." !d. , App. at 132 - 135. I clicked on the "Pharmacies" category link and

the resulting web page displayed the pharmacies listed 18 pharmacies, including Consumer's

Pharmacy. !d., App. at 84 - 88.

                             CIVIL INVESTIGATIVE DEMANDS

        19.      During this investigation, the Commission sent Civil Investigative Demands

(CIDs) to a number of third-party companies that provided services to the Defendants, including

JP Morgan Chase Bank, N.A. (Chase), Cox Communications, Inc. (Cox), Vonage Holdings

Corporation (Vonage), and GoDaddy.com, LLC (GoDaddy). Each of these companies provided

responsive documents to the FTC.

                                  JPMorgan Chase Bank, N.A.

       20.      The CID response from Chase includes depository account application forms,

signature cards, and monthly account statements for business accounts held in the name of the

Corporate Defendant. The CID response also includes limited account holder information for

accounts held in the name of the Individual Defendants. Because the entire contents of the

Chase business records are voluminous and cannot be conveniently examined in Court, I

attached true and correct copies of a limited number of these documents, as well as the Business

Records Certification executed by a representative of Chase, as Ex. 9, App. at 136- 165.

Additionally, I summarized information contained in the monthly account statements for several

business accounts controlled by Defendants.

       21 .     Chase provided information concerning three depository accounts owned by Your

Yellow Book. The records concerning these three accounts showed the following:



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                a.      On April14, 2011 , Brandie Law opened a Chase Business Select

Checking account in the name of Your Yellow Book Inc with account number ending 2423. Id.,

App. at 138. Brandie Law was identified as the President ofYour Yellow Book on the account

application (/d.) and the signature card (Id. , App. at 139). On April 19, 2011, Brandie Law was

removed as a signer from the account. !d. , App. at 141. Also on April 19, 2011 , Dustin R. Law

was added as a signer to the account, and was identified as President of Your Yellow Book on

the signature card. !d., App. at 142 - 143.

               b.      On April14, 2011 , Brandie Law opened a Chase Business Savings

account in the name ofYour Yellow Book Inc with account number ending 0292. Id. , App. at

144. Brandie Law was identified as the President of Your Yellow Book on the account

application (/d.) and the signature card (!d. , App. at 145). On April19, 2011 , Brandie Law was

removed as a signer from the account. Id. , App. at 147. Also on April 19, 2011, Dustin R. Law

was added as a signer to the account, and was identified as President of Your Yellow Book on

the signature card. !d. , App. at 148.

               c.      On June 30, 2011 , Dustin R. Law opened a Chase Business Plus Extra

account in the name ofYour Yellow Book Inc with account number ending 2689. Id., App. at

149. Dustin Law was identified as President of Your Yell ow Book on the account application

(!d.) and the signature card (Id., App. at 150). On May 1, 2012, Robert Law was added to the

account as a signer and was identified as Secretary of Your Yellow Book. !d., App. at 151.

       22.     Between April 14, 2011 , and April30, 2012, Defendants deposited checks worth

$148,622.10 from consumers into Your Yellow Book account ending 2423 . Between June 30,

2011, and March 31 , 2014, Defendants deposited checks worth $400,671.89 from consumers and

transactions worth $51,021.31 from PayPal functioning as a payment processor, into Your



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Yellow Book account ending 2689. Including deposits from PayPal, Your Yellow Book

received $600,315.30 in payments from consumers between April14, 2011 , and March 31 , 2014.

        23.      Chase provided information concerning three depository accounts owned by Pro

RDB Inc. The records produced concerning these 3 accounts showed the following:

                 a.     On April 28, 2010, Brandie Law opened a Chase Business Classic account

in the name ofPro RDB Inc with account number ending 5579. Id. , App. at 152. Brandie Law

was identified as President of Pro RDB Inc on the account application (Jd.) and signature card

(Jd., App. at 153). On April 19, 2011 , Brandie Law was removed as a signer from the account.

Id. , App. at 156. Also on April 19, 2011, Dustin Law as added as a signer to the account, and

was identified as President of Pro RDB Inc on the signature card. Id. , App. at 155. On June 4,

2011, Robert Law was added as a signer to the account, and was identified as Manager of Pro

RDB Inc on the signature card. Id. , App. at 157.

                b.     On April28, 2010, Brandie Law opened a Chase Business Select High

Yield Savings account in the name of Pro RDB Inc with account number ending 3512. Id., App.

at 158. Brandie Law was identified as President of Pro RDB Inc on the account application (Jd.)

and signature card (Jd. , App. at 159). On June 4, 2011 , Robert Law was added as a signer to the

account, and was identified as Manager of Pro RDB Inc on the signature card. Jd., App. at 161.

                c.     On April 12, 2012, Dustin Law opened a Chase Business Select Checking

account in the name of Pro RDB Inc with account number ending 5539. Jd., App. at 162. Dustin

Law was identified as President of Pro RDB Inc on the account application (Jd.) and signature

card (Jd. , App. at 163). On April12, 2012, Robert Law was added as a signer to the account, and

was identified as Secretary of Pro RDB Inc on the signature card. Id. , App. at 165.




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        24.     Between April14, 2011, and March 31, 2014, I determined that the Individual

Defendants withdrew funds either directly from the Your Yellow Book accounts, or transferred

funds to one ofthe Pro RDB Inc accounts controlled by Defendants, where they were

subsequently withdrawn by Individual defendants, in the form of cash or wire transfers, or used

to purchase goods or other services, with debit cards linked to the Pro RDB Inc accounts. The

following table summarizes source and distribution of funds by Individual Defendants:

                       Funds Distributed to Individual Defendants


                                 Source of Funds                   Distribution of Funds
                                  ProRDB Inc       ProRDB Inc                   Total Cash
  Individual       Your Yellow      -Cash or          -Card      Total Cash       AND
                     Book          Equivalent       Purchases   Distributions   Purchases

 Brandie Law       $7,250.00      $24,285.35       $5,699.79    $31,535.35      $37,235.14

 Robert Law        $     -        $90,597.90       $13,367.63   $90,597.90      $103,965.53

 Dustin Law        $115,458.50    $169,960.30      $72,974.76   $285,418.80     $358,393.56

                                                   TOTAL==>     $407,552.05     $499,594.23




                                    Cox Communications, Inc.

       25.      The CID response from Cox includes subscriber information for several phone

numbers, including (405) 296-6430. Because the entire contents ofthe Cox CID response

contain PII, including PII associated with parties unrelated to the underlying investigation, I

attached true and correct copies of a limited number of these documents, as well as the Business

Records Certification executed by a representative Cox, as Ex. 10, App. at 166 - 168. The Cox

records show that service for the phone number (405) 296-6430, with Brandie Law as the




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subscriber on the account, was provided to a residential address at 1304 W . Cleveland Ave. ,

Guthrie, Oklahoma 73044. Id. , App. at 168.4

                                    Vonage Holdings Corporation

          26.      The CID response from Vonage includes a cover letter from a representative of

Vonage and an electronic spreadsheet file with subscriber and account information for several

phone numbers, including (405) 227-9534. I attached true and correct copies ofthe cover letter

and the printed contents of the electronic spreadsheet, as well as the Business Records

Certification executed by a representative ofVonage, as Ex. 11 , App. at 169- 176. The Vonage

records show that Dustin Law was the subscriber for the phone number (405) 227-9534

beginning October 17, 2011 , and the stated end date for the account is August 2, 2053. !d. , App.

at 171.

                                         GoDaddy.com, LLC

          27.      The CID response from GoDaddy contained account information, including

communications and payment information, for domain registrations and web hosting accounts

for several domains and accounts related to Defendants. Because the entire contents of the

GoDaddy business records are voluminous and cannot be conveniently examined in Court, I

attached true and correct copies of a limited number of these documents, as well as the Business

Records Certification executed by a representative GoDaddy, as Ex. 12, App. at 177 - 184.

          28.      The GoDaddy records show that Dustin Law is listed as the Registrant Contact,

Administrative Contact, Technical Contact, and Billing Contact for the domain registration for

the website YOURYELLOWBOOK.COM. !d. , App. at 179. The records also show that Dustin




4
 This property was previously identified by tax assessor records to belong to Brandie Law. See
Paragraph 7.

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Law and Brandie Law have both paid the web-hosting and domain registration costs (Id. , App. at

180 -184) associated with YOURYELLOWBOOK.COM.



       I declare, under penalty of perjury, that the foregoing statement is true and correct.

       Executed on July 22, 2014, at Dallas, Texas.




                                                      BRENT D. MCPEEK




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